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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                  CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

           Plaintiff,
  v.

  UNITED STATES OF AMERICA,

           Defendant.
                                          /

   ORDER GRANTING MOTION TO FILE LOG AND COVER LETTER UNDER SEAL

           THIS CAUSE comes before the Court upon Defendant’s Unopposed Motion to File Log

  and Cover Letter Under Seal (the “Motion”) [ECF No. 129]. The Motion seeks permission to file

  under seal a cover letter to the Special Master and an attached log, pursuant to the Amended Case

  Management Plan [ECF No. 112 p. 4] and the Order Appointing Special Master [ECF No. 91 ¶ 9].

  The Court has reviewed the Motion and is otherwise duly advised. Accordingly, it is hereby

           ORDERED AND ADJUDGED as follows:

        1. The Motion [ECF No. 129] is GRANTED.

        2. On or before October 6, 2022, Defendant shall file the Cover Letter and Attached Log

           conventionally and under seal.

        3. The seal will remain in place until further order of the Court.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida this 4th day of October

  2022.

                                                             _________________________________
                                                             AILEEN M. CANNON
                                                             UNITED STATES DISTRICT JUDGE
  cc:      counsel of record
